Case 1:25-cv-00121-MSM-LDA       Document 80-2    Filed 04/24/25   Page 1 of 4 PageID #:
                                        5351



                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF RHODE ISLAND


  STATE OF COLORADO, et al.,

  Plaintiffs,

  v.                                         Civil Action No. 25-cv-121-MSM-LDA

  U.S. DEPARTMENT OF
  HEALTH AND HUMAN SER-
  VICES, et al.,

  Defendants.




                         DECLARATION OF KURT JOHN


       Pursuant to 28 U.S.C. § 1746, I, Kurt John, declare as follows:

          1.    I am the Director of the Office of Financial Resources, Substance

 Abuse and Mental Health Services Administration (“SAMHSA”), the United

 States Department of Health and Human Services (“HHS”).

          2.    In that capacity, I provide fiscal stewardship across SAMHSA and

 serve as the agency’s principal advisor and liaison on all aspects of budget, grants,

 contracts, and financial management activities.

          3.    I have experience with HHS’s/SAMHSA’s record systems regarding

 grant awards. These records are made in the course of regularly conducted busi-

 ness activity at or near the time of relevant events by a person with knowledge of

 these events.
Case 1:25-cv-00121-MSM-LDA     Document 80-2   Filed 04/24/25   Page 2 of 4 PageID #:
                                      5352



         4.   In the course of preparing this declaration, I have examined the of-

 fice records available to me regarding grants awarded by SAMHSA.

         5.   I have reviewed the chart of SAMHSA block grants in the United

 States’ Supplemental Briefing in Support of Its Opposition to Plaintiffs’ Motion

 for a Preliminary Injunction and the information contained in the chart is accu-

 rate.

         6.   Under the American Rescue Plan Act (“ARPA”), Congress appropri-

 ated $1,500,000,000 for the Substance Abuse Prevention and Treatment (“SAPT”)

 Block Grant and $1,500,000,000 for the Community Mental Health Services

 Block (“CMHS”) Block Grant. The SAPT and CMHS authorizing statutes require

 that SAMHSA obligate five percent of the block grant appropriations for technical

 assistance, data collection and program evaluation. Thus, $1,425,000,000 was ap-

 propriated for both SAPT and SMHS block grants through SAMSHA. In addition

 to the appropriated funds mentioned above, SAMHSA received an additional

 $100,000,000 in ARPA funds through an intra-departmental transfer of authority

 from the HHS Public Health and Social Services Emergency Fund (“PHSSEF”).

 The funds were evenly distributed between the SAPT and CMHS Block Grants.

         7.   In accordance with the appropriations and authorizing statutes,

 SAMHSA made awards totaling $1,474,612,375 under the SAPT Block Grant and

 $1,474,585,317 under the CMHS Block Grant. The Plaintiff states were allocated

 $834,868,156 of the ARPA SAPT Block Grant funding and $820,703,645 of the

 ARPA CMHS Block Grant funding. The purpose of these awards was to enhance
Case 1:25-cv-00121-MSM-LDA      Document 80-2    Filed 04/24/25   Page 3 of 4 PageID #:
                                       5353



 COVID-19 testing and mitigation efforts for individuals with substance use and

 mental health needs and to address substance abuse prevention, treatment, and

 recovery needs in response to the COVID-19 Public Health Emergency (“PHE”).

        8.    As of April 17, 2025, the states in total (non-plaintiff and plaintiffs)

 had drawn $949,188,857 in ARPA SAPT funding and $887,366,456 in ARPA

 CMHS funding. As of April 17, the Plaintiff states had drawn $538,482,482 in

 SAPT ARPA funding and $491,781,201 in CMHS ARPA funding. As of April 17,

 2025, for the Plaintiff states, $328,922,444 in CMHS ARPA funding and

 $296,385,674 in SAPT ARPA funding – a total of $625,308,118 – remained undis-

 bursed in SAMHSA’s accounting system. For all states, $1.1 billion of ARPA

 CMHS and SAPT funding remained undisbursed in SAMHSA’s accounting sys-

 tem.

        9.    Under the Coronavirus Response and Relief Supplemental Appropri-

 ations Act (CRRSAA), Congress appropriated $1,650,000,000 for the SAPT Block

 Grant and $1,650,000,000 for the CMHS Block Grant. The CRRSAA directed that

 SAMHSA award no less than 50 percent of the CMHS Block Grant appropriation

 to community mental health centers.

        10.   In accordance with the appropriations and authorizing statutes,

 SAMHSA awarded states $1,650,000,000 under the SAPT Block Grant and

 $825,000,000 under the CMHS Block Grant. The Plaintiff states were allocated

 $934,751,557 of the CRRSAA SAPT Block Grant funding and $459,325,985 of the
Case 1:25-cv-00121-MSM-LDA     Document 80-2    Filed 04/24/25   Page 4 of 4 PageID #:
                                      5354



 CRRSAA CMHS Block Grant funding. The purpose of these awards was to pro-

 vide critical mental health services in response to the COVID-19 PHE.

       11.    With respect to the CRRSAA-funded grants, the period of perfor-

 mance had already expired at the time of the grant terminations.

       12.    As of April 17, 2025, the states in total had drawn $1,578,032,707 in

 CRSSA SAPT funding and $778,758,668 in CRRSAA CMHS funding. As of April

 17, the Plaintiff states had drawn $897,903,037 in SAPT CRRSA funding and

 $436,744,393 in CMHS CRRSA funding. As of April 17, 2025, for the Plaintiff

 states, $36,848,520 of CRSSA SAPT funding and $22,581,592 of CRSSA CMHS

 funding – a total of $59,430,112 - remained undisbursed in SAMHSA’s accounting

 system. For all the states, $118.2 million of CRRSAA CMHS and SAPT funding

 remained undisbursed in SAMHSA’s accounting system.

       I HEREBY DECLARE, to the best of my knowledge and belief, under pen-

 alty of perjury under the laws of the United States of America, that the foregoing

 is true and correct.



       EXECUTED this April 24, 2025, at Washington, DC.

                                                   /s/ Kurt John
